 1    Julian I. Gurule (CA SBN: 251260)*                                HONORABLE WHITMAN L. HOLT
      O’MELVENY & MYERSthLLP
 2    400 South Hope Street, 18 Floor                                   HEARING DATE: March 27, 2024
      Los Angeles, California 90071                                     HEARING TIME: 10:00 A.M.
 3    Telephone: (213) 430-6067                                         RESPONSE DUE: March 18, 2024
      Email: jgurule@omm.com                                            LOCATION: Tower Bldg
 4                                                                                2nd Floor Courtroom
      Co-Counsel to Debtors and                                                   402 East Yakima Avenue
 5    Debtors in Possession                                                       Yakima, WA 98901
 6    Dakota Pearce (WSBA #57011)
      BUCHALTER
 7    1420 5th Avenue, Suite 3100
      Seattle, Washington 98101
 8    Telephone: (206) 319-7052
      Email: dpearce@buchalter.com
 9
      Bernard D. Bollinger, Jr. (CA SBN:
10    132817)*
      Khaled Tarazi (AZ SBN: 032446)*
11    BUCHALTER
      1000 Wilshire Blvd., Suite 1500
12    Los Angeles, California 90017
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13    Email: bbollinger@buchalter.com
             ktarazi@buchalter.com
14
      *Admitted Pro Hac Vice
15
      Counsel to Debtors and Debtors in
16    Possession
17
                                 UNITED STATES BANKRUPTCY COURT
18                               EASTERN DISTRICT OF WASHINGTON
19   In re:                                                          Chapter 11
20   ICAP ENTERPRISES, INC., et al.,                                 Lead Case No. 23-01243-WLH11
21
                                                                     Jointly Administered
                                               Debtors. 1
22
     1The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-01261-
23   11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault Holding
     1, LLC (23-01256-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC (23-01253-
24   11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC (23-01249-
     11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC (23-01254-
25   11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11); VH 1121 14th
     LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW, LLC (23-01244-
26   11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-01246-11); iCap


      NOTICE OF JOINT DIP MOTION AND 9019                                                               BUCHALTER
                                                                                                    1420 FIFTH AVENUE, SUITE 3100
      MOTION                -1                                                                        SEATTLE, WA 98101-1337
                                                                                                      TELEPHONE: 206.319.7052

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 1                                                                NOTICE OF (I) JOINT MOTION
                                                                  FOR ORDER AUTHORIZING THE
 2                                                                DEBTORS TO OBTAIN
                                                                  SUPPLEMENTAL POSTPETITION
 3                                                                SECURED FINANCING AND (II)
                                                                  MOTION TO APPROVE
 4                                                                COOPERATION AGREEMENT
 5

 6            PLEASE TAKE NOTICE that on February 23, 2024, the above-captioned
 7   debtors and debtors in possession (collectively, the “Debtors”) filed the following
 8   motions (the “Motions”):
 9            •        Joint Motion of the Debtors and Committee for Order: (I) Authorizing the
10                     Debtors to Obtain Supplemental Postpetition Secured Financing;
11                     (II) Granting         Superpriority         Administrative          Expense           Claims;          and
12                     (III) Granting Related Relief [ECF No. 467] (the “DIP Motion”); and
13            •        Debtors’ Motion to Approve Entry Into and Performance Under the
14                     Cooperation Agreement [ECF No. 470] (the “9019 Motion”).
15            PLEASE TAKE FURTHER NOTICE that the DIP Motion seeks relief
16   pursuant to sections 105, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), and 364(e) of title
17   11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”)
18   authorizing the Debtors to obtain supplemental postpetition secured financing in an
19   aggregate principal amount not to exceed $5,000,000, grant liens to secure the DIP loan
20   facility, grant superpriority claims, and grant related relief.
21            As part of the DIP Motion, the Debtors are also seeking findings that the
22   Debtor’s business operated as a Ponzi Scheme. If Ponzi Findings are made, they
23   will affect litigation claims and recovery efforts that may be pursued against
24   various third parties that did business with the Debtors, including but not limited
25
     Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11) ; Vault Holding, LLC (23-01270-11); iCap Pacific Development
26   LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); and iCap Holding 6 LLC (23-01274-11).


      NOTICE OF JOINT DIP MOTION AND                                                              BUCHALTER
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 1   to lenders, brokers, investors, consultants, and professional firms. More details
 2   regarding the Ponzi Findings request are provided below in this Notice.
 3           PLEASE TAKE FURTHER NOTICE that the DIP Motion is based on this
 4   Notice, the DIP Motion itself, the Declaration of Lance Miller in Support of Joint
 5   Motion for Order Authorizing the Debtors to Obtain Supplemental Postpetition Secured
 6   Financing attached to the Motion, the Supplemental Declaration of Lance Miller in
 7   Support of Postpetition Financing and Related Relief [ECF No. 468], the Declaration
 8   of Jeffrey H. Kinrich in Support of Postpetition Financing and Related Relief [ECF No.
 9   469], the arguments and representations of counsel to the Debtors who will appear at
10   the hearing on the DIP Motion, and any other supporting briefs and admissible evidence
11   properly brought before the court at or before the hearing on the DIP Motion.
12           PONZI FINDINGS REQUESTED RELIEF:
13           AS NOTED ABOVE, IN CONNECTION WITH THE DIP MOTION, THE
14   DEBTORS ARE SEEKING FINDINGS THAT FOR YEARS DURING THE
15   PREPETITION        PERIOD,      THE        DEBTORS’      BUSINESS           ENTERPRISE
16   OPERATED AS A PONZI SCHEME (THE “PONZI FINDINGS”). IF THE
17   PONZI FINDINGS ARE MADE, THE DEBTORS (AND ANY SUCCESSOR IN
18   INTEREST, INCLUDING ANY LIQUIDATING TRUSTEE APPOINTED
19   PURSUANT TO A CHAPTER 11 PLAN OF LIQUIDATION OR CHAPTER 7
20   TRUSTEE), WILL BE ENTITLED TO THE BENEFIT OF THE PONZI
21   SCHEME PRESUMPTION IN RECOVERY EFFORTS AND LITIGATION
22   AGAINST THIRD PARTIES. THE “PONZI PRESUMPTION” IS THAT THE
23   TRANSFERS AND BUSINESS TRANSACTIONS WERE DONE WITH
24   ACTUAL INTENT TO HINDER, DELAY, OR DEFRAUD CREDITORS. THIS
25   PRESUMPTION MAY AID RECOVERY AND LITIGATION EFFORTS WITH
26   RESPECT TO AVOIDANCE AND RECOVERY ACTIONS AGAINST THIRD

      NOTICE OF JOINT DIP MOTION AND                                     BUCHALTER
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 1   PARTIES         THAT   RECEIVED        TRANSFERS         FROM        THE           DEBTORS,
 2   INCLUDING ANY CAUSES OF ACTION ASSERTED UNDER SECTIONS 544
 3   AND 548 OF THE BANKRUPTCY CODE AND ANY OTHER APPLICABLE
 4   FRAUDULENT TRANSFER, DEBTOR/CREDITOR LAW, AVOIDANCE AND
 5   RECOVERY STATUTES OR CAUSE OF ACTIONS, CLAIMS, OR
 6   ARGUMENTS.
 7           PLEASE TAKE FURTHER NOTICE that the 9019 Motion seeks relief
 8   pursuant to sections 105(a) and 363(b) of the Bankruptcy Code, Rule 9019 of the
 9   Federal Rules of Bankruptcy Procedure, and Rule 9019-1 of the Local Rules of the
10   United States Bankruptcy Court for the Eastern District of Washington approving entry
11   into and performance under that certain Cooperation Agreement dated February 6,
12   2024, by and among the Debtors and the unsecured creditors’ committee, which
13   provides for the cooperation and joint prosecution of certain specified claims related to
14   the Debtors’ Ponzi scheme.
15           PLEASE TAKE FURTHER NOTICE that the 9019 Motion is based on this
16   Notice, the 9019 Motion itself, the Declaration of Lance Miller in Support of Motion to
17   Approve Entry Into and Performance Under the Cooperation Agreement attached to the
18   9019 Motion, the arguments of counsel, and any other supporting briefs and admissible
19   evidence properly brought before the court at or before the hearing on the 9019 Motion.
20           PLEASE TAKE FURTHER NOTICE that copies of the Motions and the
21   supporting documents are available upon request to counsel for the Debtors at
22   ktarazi@buchalter.com, may be reviewed at the office of the Clerk of the United States
23   Bankruptcy Court, may be viewed at the United States Bankruptcy Court PACER
24   website at http://www.waeb.uscourts.gov, or may be viewed on the website of the
25   Debtors’ claims agent at https://cases.creditorinfo.com/iCap. THE DEBTORS MAY
26   FILE       ADDITIONAL      SUPPORTING          DOCUMENTS          PRIOR TO                       THE

      NOTICE OF JOINT DIP MOTION AND                                      BUCHALTER
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 1   HEARING AND YOU ARE ENCOURAGED TO REGULARLY CHECK THE
 2   DOCKET FOR ANY SUCH FILINGS PRIOR TO THE HEARING.
 3           PLEASE TAKE FURTHER NOTICE that objections to the Motions must be
 4   filed with the United States Bankruptcy Court for the Eastern District of Washington,
 5   402 East Yakima Avenue, Suite 200, Yakima, WA 98901, no later than March 18,
 6   2024. If you do not submit an objection, the court may enter the proposed order
 7   without a hearing or any further notice.
 8           PLEASE TAKE FURTHER NOTICE that the hearing will be held on March
 9   27, 2024 at 10:00 a.m. (Pacific Time) at Tower Bldg, 2nd Floor Courtroom, 402 East
10   Yakima Avenue, Yakima, WA.
11

12           DATED this 23rd day of February 2024.
13                                   BUCHALTER
                                     A Professional Corporation
14

15
                                     By          /s/ Dakota Pearce
16                                        Dakota Pearce (WSBA 57011)
17                                        BERNARD D. BOLLINGER, JR. (Admitted Pro
                                          Hac Vice)
18                                        KHALED TARAZI (Admitted Pro Hac Vice)
                                          BUCHALTER, a Professional Corporation
19

20                                        Counsel to Debtors and Debtors in Possession
21                                        And

22
                                          JULIAN I. GURULE (Admitted Pro Hac Vice)
                                          O’MELVENY & MYERS LLP
23
                                          Co-Counsel to Debtors and Debtors in Possession
24

25

26


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